                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:20-cv-00648-FDW-DSC


 SECURITY FIRST BANK,                             )
                                                  )
                Plaintiff,                        )
                                                  )
         vs.                                      )                      ORDER
                                                  )
 IF ARMOR INTERNATIONAL, LLC,                     )
                                                  )
                Defendants.                       )
                                                  )

       THIS MATTER is before the Court sua sponte as to the status of this case. It appears the

parties have resolved this case, (Doc. Nos. 18, 20), and the magistrate judge has allowed the parties

until Saturday, December 18, 2021, to file a stipulation of dismissal (Text-Only Order entered

11/9/21). This matter, however, is docketed for trial beginning January 3, 2022, and pretrial

submissions are required in advance of trial so that the Court can be prepared to proceed.

Accordingly, the parties’ jointly prepared pretrial submissions required under the Case

Management Order in this matter, (Doc. No. 12), shall be due Monday, December 20, 2021.

       IT IS THEREFORE ORDERED that the parties’ jointly prepared pretrial submissions shall

be due December 20, 2021. A pretrial conference, if necessary, shall take place immediately

following docket call on January 3, 2022, in Courtroom #5B of the Charles R. Jonas Building.

       IT IS SO ORDERED.

                                         Signed: November 29, 2021




      Case 3:20-cv-00648-FDW-DSC Document 21 Filed 11/29/21 Page 1 of 1
